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                  IN THE UNITED STATES DISTRICT COURT FOR
                      THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

UNITED STATES OF AMERICA                       )
                                               )
v.                                             )          CASE NO. 2:07-cr-250-MEF
                                               )                     (WO)
WILLIE JOE HALL                                )
MICHAEL COLEMAN                                )

                                        ORDER

       The defendants have filed a Corrected Motion to Continue Trial (Doc. #79) and a

Motion to Continue Trial (Doc. #84) While the granting of a continuance is left to the sound

discretion of the trial judge, United States v. Warren, 772 F.2d 827, 837 (11th Cir. 1985), the

court is, of course, limited by the requirements of the Speedy Trial Act, 18 U.S.C. § 3161.

The Speedy Trial Act provides generally that the trial of a defendant in a criminal case shall

commence within 70 days of the latter of the filing date of the indictment or the date the

defendant appeared before a judicial officer in such matter. 18 U.S.C. §3161(c)(1). See

United States v. Vasser, 916 F.2d 624 (11th Cir. 1990).

       The Act excludes from this 70 day period any continuance that the judge grants "on

the basis of his findings that the ends of justice served by taking such action outweigh the

best interest of the public and the defendant in a speedy trial." 18 U.S.C. § 3161(h)(8)(A).

       The motions state that defense counsel need additional time to complete the

investigation of this case for their clients. In addition, the defendants need additional time

to complete their cooperation with the government. Neither the investigation nor cooperation
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can be completed prior to the April 7, 2008 trial term. Counsel for the government does not

oppose a continuance. Consequently, the court concludes that a continuance of this case is

warranted and that the ends of justice served by continuing this case outweighs the best

interest of the public and the defendant in a speedy trial. See United States v. Davenport, 935

F.2d 1223, 1235 (11th Cir. 1991)(reasonable time necessary for effective preparation is a

significant factor for granting a continuance under the Speedy Trial Act).

       Accordingly, it is hereby ORDERED:

       1. That the defendants' motions (Docs. #79 & #84) are GRANTED;

       2. That the trial of this case is continued from the April 7, 2008 trial term to the July

28, 2008 trial term in Montgomery, Alabama.

       3. That the Magistrate Judge conduct a pretrial conference prior to the July 28, 2008

trial term.

       DONE this 28th day of March, 2008.




                                                    /s/ Mark E. Fuller
                                            CHIEF UNITED STATES DISTRICT JUDGE




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